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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,

v.                                                  Case No.: 8:25-CV-00951-PX

Kristi Noem, et al.,

                       Defendants.


              Plaintiffs’ Opposition to Defendants’ Motion To Dismiss As Moot
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                                         INTRODUCTION

        The Government says this case is over. ECF No. 200. And it is not hard to see why the

Government wishes that were true. But it is not. A case does not become moot simply because the

Government begrudgingly, belatedly, and only partially remedies its unlawful conduct in order to

save face and escape the consequences of its defiance of court orders. Here, after months of openly

resisting orders of this Court, the Fourth Circuit, and the Supreme Court, the Government finally

returned Kilmar Armando Abrego Garcia to the United States from El Salvador, but not to

Maryland where he resides and which was the status quo ante before his illegal arrest and removal.

Rather, the Government transported him to Tennessee to face criminal charges that it investigated

and brought while asserting to this Court that it was powerless to bring him home—and to anyone

who would listen that he would never again walk on American streets as a free person. Having

done that, it insists that the case is moot because there is nothing left for this Court to do to remedy

Plaintiffs’ injuries. Not so.

        Mootness requires both that it is impossible for the Court to grant any effective relief, see

Chafin v. Chafin, 568 U.S. 165, 172 (2013), and that it is “absolutely clear” that the Government’s

wrongdoing is not expected to recur, Lackey v. Sinnie, 145 S. Ct. 659, 669 (2025) (citation omitted).

Neither is true here. The Court should deny the Government’s motion for five reasons.

        First, ample effective relief remains for this Court to order and enforce. Plaintiffs seek to

“restore the status quo ante,” including by returning Abrego Garcia “to where he was on March

12, 2025, before he was apprehended by ICE and spirited away to CECOT.” ECF No. 31 at 16–

17. That has not happened. The Court can order Abrego Garcia’s return to Maryland, which is

where he was on March 12, as well as other relief to restore the status quo ante.

        In addition, the injunction this Court entered “properly requires the Government” to

“ensure that his case is handled as it would have been had he not been improperly sent to El


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Salvador.” Noem v. Abrego Garcia, 145 S. Ct. 1017, 1018 (2025). That, too, has not happened.

Indeed, the Government itself does not argue that this aspect of the injunction is moot, because it

is not. It remains in full force and will provide effective relief in any future removal proceedings.

       This Court can also grant the declaratory relief Plaintiffs seek that removing Abrego Garcia

to El Salvador was unlawful and remains unlawful. That is a live dispute because Defendant Bondi

and other officials have announced that they plan to once again remove Abrego Garcia to El

Salvador after he is released from custody in the Tennessee criminal proceedings. There is also a

live dispute regarding whether Abrego Garcia can be removed to a third country, as the

Government’s statements at the June 26, 2025 scheduling conference confirmed, as well as the

scope of his due process rights in connection with future removal proceedings.

       Second, the Government cannot moot a case after a preliminary injunction is entered unless

it satisfies the “formidable” burden of proving that no reasonable expectation remains that it will

return to its old ways. Lackey, 145 S. Ct. at 669; FBI v. Fikre, 601 U.S. 234, 241 (2024). The

Government cannot satisfy that burden given its plans to remove Abrego Garcia again.

       Third, the case also is not moot because the Government has violated several orders of this

Court, including discovery orders and the preliminary injunction. A court retains jurisdiction to

enforce its own orders and to impose sanctions and contempt. See Cooter & Gell v. Hartmarx

Corp., 496 U.S. 384, 396 (1990).

       Fourth, the Government’s alternative argument to dissolve the injunction fails because the

Government does not even attempt to satisfy its burden of showing that enforcement of the

injunction is detrimental to the public interest.

       Fifth, Plaintiffs will file by July 2 a motion for leave to amend and supplement their

Complaint. See ECF No. 206. The Court should grant that motion, which will provide further




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reasons to deny the motion to dismiss, including that Plaintiffs will seek relief in connection with

any effort by the Government to remove Abrego Garcia to a country other than El Salvador.

       For all these reasons, the Court should deny the Government’s motion to dismiss.

                                         BACKGROUND

       Since 2019, Abrego Garcia has resided in Maryland under a final order granting him

withholding of removal as to El Salvador, pursuant to Section 241(b)(3) of the Immigration and

Nationality Act, 8 U.S.C. §1231(b)(3). ECF No. 1 (Complaint) ¶¶41–42; ECF No. 1-1. On March

12, 2025, without a warrant or any lawful basis to take him into custody, ICE officers arrested

Abrego Garcia in Maryland and falsely told him that his “status has changed.” Complaint ¶¶48–

50. Three days later, the Government “took the only action which [the withholding of removal

order] expressly prohibited” and illegally removed Abrego Garcia to El Salvador. Abrego Garcia

v. Noem, 2025 WL 1021113, at *6 (4th Cir. Apr. 7, 2025) (Wilkinson, J., concurring).

       On March 24, Plaintiffs commenced this action and moved for a temporary restraining

order. ECF Nos. 1, 2. The Complaint alleges violations of 8 U.S.C. §1231(b)(3)(A), the Due

Process Clause, and the Administrative Procedure Act, with a habeas claim pleaded in the

alternative. Complaint ¶¶72–99. The Complaint seeks an order compelling the Government to

facilitate Abrego Garcia’s return to the United States, a declaration that the Government’s actions

violated federal law and the Constitution, costs and fees under the Equal Access to Justice Act, and

such other relief at law and in equity as justice requires. Id. at 21. In their TRO papers, Plaintiffs

emphasized that they seek to restore the status quo ante. ECF No. 10 at 5; ECF No. 15 at 2.

       Despite acknowledging that Abrego Garcia’s removal was in error, the Government sought

to keep Abrego Garcia illegally confined in El Salvador and refused to follow its standard practice

to resolve wrongful removal “cases without further litigation by correcting the error.” Exhibit A

(Reuveni Letter) at 22. Indeed, on March 28, Senior Counselor to the Secretary of Homeland


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Security James Percival informed colleagues that the U.S. Department of Homeland Security

(DHS) was “working to fix it so he doesn’t need to be returned to the U.S.” Hamed Aleaziz & Alan

Feuer, How Trump Officials Debated Handling of the Abrego Garcia Case: ‘Keep Him Where He

Is’, N.Y. Times (May 21, 2025), https://www.nytimes.com/2025/05/21/us/politics/trump-abrego-

garcia-el-salvador-deportation.html. DHS Acting General Counsel Joseph Mazzara concurred:

“We’re also trying to keep him where he is.” Id. These communications have to this date not been

disclosed in discovery in this case—despite the fact that they are clearly responsive to discovery

requests and do not fall under the protection of any recognized privilege.

       This Court granted a preliminary injunction on April 4, ordering the Government to

“facilitate and effectuate” Abrego Garcia’s return to the United States to “restore the status quo

and to preserve Abrego Garcia’s access to due process in accordance with the Constitution and

governing immigration statutes.” ECF No. 21 at 2. The Fourth Circuit denied the Government’s

emergency stay motion on April 7, characterizing the Government’s opposition as

“unconscionable.” Abrego Garcia v. Noem, 2025 WL 1021113, at *1 (4th Cir. Apr. 7, 2025)

(Thacker, J., with King, J., concurring). On April 10, the Supreme Court ruled that this Court’s

injunction “properly requires the Government to ‘facilitate’ Abrego Garcia’s release from custody

in El Salvador and to ensure that his case is handled as it would have been had he not been

improperly sent to El Salvador.” Noem, 145 S. Ct. at 1018. Later that day, this Court amended its

injunction to direct the Government to “take all available steps to facilitate the return of Abrego

Garcia to the United States as soon as possible.” ECF No. 51 at 1. A week later, the Fourth Circuit

denied another emergency stay motion and clarified that the injunction requires “[a]ctive . . . steps

be taken,” beyond merely “remov[ing] any domestic barriers to Abrego Garcia’s return.” Abrego

Garcia v. Noem, 2025 WL 1135112, at *1 (4th Cir. Apr. 17, 2025).




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       Meanwhile, on April 15, with the Government having “done nothing to aid in Abrego

Garcia’s release from custody and return to the United States,” ECF No. 79 at 5, this Court ordered

expedited discovery “to ascertain what, if anything, the Defendants have done to ‘facilitate Abrego

Garcia’s release from custody in El Salvador,’” id. at 6–7 (citation omitted). Such relief would also

“assist the Court in determining whether contempt proceedings are warranted.” Id. at 6.

       The Government responded by engaging in a determined stalling campaign. It filed several

stay motions, recycled already-rejected arguments, requested lengthy extensions at the last minute,

and pursued a frivolous emergency appeal—all while Abrego Garcia languished in a foreign

prison. See ECF No. 196 at 3 (detailing the Government’s dilatory tactics). Document production

has been a slow trickle of publicly available documents and the filings in this case. See id. at 7–8.

Depositions were—as this Court put it—”an exercise in utter frustration.” May 16 Motions Tr.

25:12–26:9. Deponents uniformly claimed to lack personal knowledge (despite filing sworn

declarations on the same topics) and were prevented from answering questions based on meritless

privilege assertions. See id. Tr. 9:10–13 (“I don’t want to tell you how long it took my wonderful

law clerks to count up the ‘I don’t knows’ in each of those depositions.”); ECF Nos. 129 at 5, 129-

6 (identifying the more than 90 times the Government instructed deponents not to answer on the

basis of an asserted privilege). Plaintiffs have moved for sanctions to redress the Government’s

bad faith refusal to comply with the discovery orders. ECF No. 196. That motion remains pending.

       Outside of court, the Government has made no secret of its defiance. See ECF No. 196, Ex.

D (providing a non-exhaustive list of nearly 100 public statements administration officials have

made about this case). On April 16, Defendant Bondi publicly announced that Abrego Garcia “is

not coming back to our country . . . . There is no situation ever where he was going to stay in this

country. None, none.” Id. at No. 31. On May 8, Defendant Noem testified under oath during a




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Senate hearing that Abrego Garcia “will not be coming back to this country. There is no scenario

where Abrego Garcia will be back in this country.” Id. at No. 78. And on May 20, Defendant Rubio

confirmed that “No judge can tell me how I have to outreach to a foreign partner or what to say to

them . . . I won’t comply with . . . an order to disclose what I am saying.” Id. at No. 83. Although

the Government has purportedly agreed to produce documents from all three Defendants, including

their cell phones and electronic devices, no such documents have been produced to Plaintiffs.

       Simultaneously, the Government worked in secret to charge Abrego Garcia with two felony

counts in Tennessee based on alleged conduct that occurred years ago during a traffic stop that

resulted in neither a ticket nor even a warning, much less any investigation. See Indictment, United

States v. Abrego Garcia, No. 25-cr-00115 (W.D. Tenn. May 21, 2025), ECF No. 3. Public

reporting indicates that the criminal investigation commenced in April 2025, precisely when this

Court ordered expedited discovery into the Government’s apparent defiance of Court orders. See

ECF No. 196, Ex. E. Even after the grand jury returned the indictment on May 21, the Government

represented to this Court that it “do[es] not have the power to produce [Abrego Garcia],” ECF No.

165 at 5, and argued that Plaintiffs’ claims were not redressable because he was “in the custody of

El Salvador,” id. at 7–9.

       On June 6, just in time for a press conference unveiling its indictment, the Government

returned Abrego Garcia—not to Maryland to restore the status quo ante—but to Tennessee to face

the criminal charges it rushed to bring.

       Since then, the Government has announced several times that it will send Abrego Garcia

back to El Salvador following his criminal proceedings. Immediately upon his return, Defendant

Bondi declared: “Upon completion of sentence we anticipate he will be returned to his home

country of El Salvador.” Attorney General Bondi Announces Charges Against Abrego Garcia (June




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6, 2025), https://www.justice.gov/opa/video/attorney-general-bondi-announces-charges-against-

abrego-garcia (video at 0:53–1:00). Senior White House official Stephen Miller echoed that

Abrego Garcia is “now being prosecuted. After a lengthy prison sentence, it is back home to El

Salvador.” Exhibit B. Miller later reiterated: “He will be tried, jailed, and then deported again to

El Salvador.” ECF No. 203-4. Indeed, the Government has represented in the Tennessee criminal

proceedings that Abrego Garcia should not be “released from U.S. Marshals Custody” because he

will “not be released at liberty but rather, into the custody of Immigration and Customs

Enforcement (ICE)” and “deported from the United States,” which poses “real, potential,

substantial and irreparable harm to the United States.” ECF No. 203-3 at 6–7. The Government

represented that the deportation Abrego Garcia faces is “to El Salvador.” Id. at 6.

       At a hearing before this Court on June 26, an attorney for the Government stated that it

may seek to remove Abrego Garcia to a third country when he is released from criminal custody.

Because of the risk that the Government will illegally remove him if he enters ICE custody, Abrego

Garcia has taken the extraordinary step of petitioning the Tennessee court to postpone until July

16 his release from custody in the criminal proceedings. United States v. Abrego Garcia, No. 3:25-

cr-00115, ECF No. 63 at 1–2. That request remains pending as of the date of this brief.

       It is against this backdrop that the Government now moves to dismiss this case as moot, on

the basis that “there is no longer a live controversy” and this Court “no longer has effective relief

to offer.” ECF No. 200 at 7 (cleaned up).

                                      LEGAL STANDARD

       The Government’s motion challenges this Court’s subject-matter jurisdiction under Federal

Rule of Civil Procedure 12(b)(1). The motion raises a factual challenge because it depends on

factual information outside the Complaint—namely, the return of Abrego Garcia to the United

States. In factual challenges, “the district court is entitled to decide disputed issues of fact with


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respect to subject matter jurisdiction.” Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009).

“The moving party”—here the Government—”should prevail only if the material jurisdictional

facts are not in dispute and the moving party is entitled to prevail as a matter of law.” Richmond,

Fredericksburg & Potomac R.R. v. United States, 945 F.2d 765, 768 (4th Cir. 1991).

                                           ARGUMENT

I.     Plaintiffs’ claims are not moot.

       The Government’s lead argument (at 7) is that, because it brought Abrego Garcia back to

the United States to face criminal charges, “Plaintiffs have received the complete relief they

requested in the Complaint, [and] this Court ‘no longer has effective relief to offer.’” This argument

ignores both the operative orders in this case, which remain unfulfilled, and the relief Plaintiffs

seek beyond Abrego Garcia’s return to the United States.

       A.      A live dispute remains about restoring Abrego Garcia to the status quo ante.

       “A case ‘becomes moot only when it is impossible for a court to grant any effectual relief

whatever to the prevailing party.’” Chafin v. Chafin, 568 U.S. 165, 172 (2013) (citation omitted);

accord, e.g., Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992) (applying this

rule against the United States). “As long as the parties have a concrete interest, however small, in

the outcome of the litigation, the case is not moot.” Chafin, 568 U.S. at 172 (citation omitted).

       Chafin is instructive. In that case, the Supreme Court held that a father’s challenge to a

court’s order to return a child to a foreign country to live with the child’s mother did not become

moot when the child returned to the foreign country. The mother argued that the district court

lacked authority under the applicable treaty or under its equitable powers to issue a re-return order,

but the Court rejected that argument as “confus[ing] mootness with whether [the plaintiff] has

established a right to recover,” which are distinct inquiries. Id. at 174 (citation omitted). The

mother also argued that any such order may be difficult to enforce, but the Court concluded that


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“such uncertainty does not typically render cases moot.” Id. at 175. There was a “live dispute

between the parties over where their child will be raised” and there was “a possibility of effectual

relief for the prevailing parent,” so the case was not moot. Id. at 180.

        The dispute in this case is just as live. On March 12, Abrego Garcia was driving home from

work in Maryland when he “was stopped by ICE agents” who “had no warrant for his arrest and

no lawful basis to take him into custody.” ECF No. 31 at 4. As this Court recognized in its

preliminary-injunction opinion, “Abrego Garcia requests relief designed to [restore] the status quo

ante”—that is, “to return him to where he was on March 12, 2025, before he was apprehended by

ICE and spirited away to CECOT.” ECF No. 31 at 16–17; see ECF No. 10 at 5 (seeking relief to

restore status quo ante); ECF No. 15 at 2 (same).1 The Government has not returned Abrego Garcia

to “where he was on March 12, 2025, before he was apprehended by ICE”—namely, to Maryland.

This Court can order relief to return Abrego Garcia to Maryland, see ECF No. 203 (Plaintiffs’

emergency motion to return Abrego Garcia to Maryland), as well as other relief to restore the status

quo ante, such as ordering that Abrego Garcia be released from ICE custody when it seeks to detain

him after his release in the Tennessee criminal proceedings. That alone means this case is not moot.

See Chafin, 568 U.S. at 173–76; Church of Scientology, 506 U.S. at 12–13 (case against

Government not moot where court can enter order that brings the parties closer to the status quo

ante, even if it does not fully restore the status quo ante).

        B.      A live dispute remains about handling Abrego Garcia’s immigration case as if
                he had not been unlawfully removed to El Salvador.

        The parties also have a live dispute about the handling of Abrego Garcia’s immigration

status. As the Supreme Court explained, this Court’s injunction “properly requires the


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  To the extent the Government maintains that only the Plaintiffs’ initial briefs, and not their
Complaint, expressly state that Plaintiffs seek a return to the status quo ante, Plaintiffs will clarify
that in their forthcoming amended complaint. See Section V, below.


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Government” to both (1) “‘facilitate’ Abrego Garcia’s release from custody in El Salvador” and

(2) “ensure that his case is handled as it would have been had he not been improperly sent to El

Salvador.” Noem, 145 S. Ct. at 1018. The Government contends that it has satisfied the first

requirement, but it neglects the second. See Mot. at 7 (arguing only that the Government can do

no more to “return Plaintiff Abrego Garcia to the United States”).

       Fulfilling part of an injunction does not moot a case. A court that “enters an injunctive

order retains jurisdiction to enforce its order.” Redner’s Markets, Inc. v. Joppatowne G.P. Ltd.

P’ship, 608 F. App’x 130, 131 (4th Cir. 2015) (cleaned up); U.S. Home Corp. v. Settlers Crossing,

LLC, 2015 WL 3973071, at *11 (D. Md. June 29, 2015) (same). And when an injunction remains

in force, the case is not moot. See Firefighters Local Union No. 1784 v. Stotts, 467 U.S. 561, 569

(1984) (rejecting mootness argument because an “injunction is still in force” and “unless set aside

must be complied with”); District 29, United Mine Workers of America v. New Beckley Mining

Corp., 895 F.2d 942, 944 (4th Cir. 1990) (similar).

       The Government does not (and cannot) argue that it has fulfilled the portion of this Court’s

injunction requiring it “to ensure that [Abrego Garcia’s] case is handled as it would have been had

he not been improperly sent to El Salvador.” Noem, 145 S. Ct. at 1018. As Justice Sotomayor

explained in her statement accompanying the Supreme Court’s decision, this language means “that

the proper remedy is to provide Abrego Garcia with all the process to which he would have been

entitled had he not been unlawfully removed to El Salvador.” Id. at 1019 (statement of Sotomayor,

J.). To do so, “the Government must comply with its obligation to provide Abrego Garcia with

‘due process of law,’ including notice and an opportunity to be heard, in any future proceedings”;

it “must also comply with its obligations under the Convention Against Torture”; and it must abide

by “[f]ederal law governing detention and removal of immigrants.” Id. (citations omitted). The




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Government has represented that after Abrego Garcia is released from custody in the criminal case,

ICE will take him into custody and commence removal proceedings. See ECF No. 203-3 at 6–7.

This Court therefore retains jurisdiction to enforce the injunction requiring it to handle Abrego

Garcia’s case as it would have had he not been improperly removed to El Salvador, including by

ensuring that he receives all requisite process. See Thompson v. U.S. Dep’t of Hous. & Urban Dev.,

404 F.3d 821, 833 (4th Cir. 2005) (“Injunctions ‘often require[] continuing supervision by the

issuing court and always a continuing willingness to apply its powers and processes on behalf of

the party who obtained that equitable relief.’”) (quoting System Fed’n No. 91 v. Wright, 354 U.S.

642, 647 (1961)). Because this aspect of the injunction remains in force, the case is not moot.2

       C.      A live dispute remains about Plaintiffs’ requested declaratory relief.

       Abrego Garcia’s request for a declaration that removing him to El Salvador is illegal and

unconstitutional also remains live. See Complaint at 21 ¶a. Where, as here, plaintiffs seek both

“declaratory relief as well as an injunction,” a court has “the duty to decide the appropriateness

and the merits of the declaratory request irrespective of its conclusion as to the propriety of the

issuance of the injunction.” Super Tire Eng’g Co. v. McCorkle, 416 U.S. 115, 121 (1974) (quoting

Zwickler v. Koota, 389 U.S. 241, 254 (1967)). Even if Plaintiffs’ requested injunctive relief were

moot (which, as explained above, it is not), this Court could still issue declaratory relief so long as

there is “a substantial controversy, between parties having adverse legal interests, of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.” Id. at 121–22; see also

Powell v. McCormack, 395 U.S. 486, 518 (1969) (“The availability of declaratory relief depends



2
  The Government’s citation (at 5–6) to Martinez-Benitez v. U.S. ICE, 2019 WL 5295694, at *1
(S.D. W. Va. Sept. 27, 2019), is unavailing. There, the petitioner requested that an ICE detainer be
cancelled and that ICE verify that he is a U.S. citizen. Id. at *1. After the detainer was cancelled,
the court determined that only the “portion of his claim” seeking to cancel the detainer was moot.
Id. *2. The petitioner’s other claims were dismissed for other reasons. Id. at *3.


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on whether there is a live dispute between the parties, . . . and a request for declaratory relief may

be considered independently of whether other forms of relief are appropriate.”).

       That standard is met here. There has been no final adjudication on the merits of whether

Abrego Garcia’s removal was illegal or unconstitutional, what specific actions were illegal, or

which Defendants violated those laws and how. Abrego Garcia’s return does not render these

questions academic. Abrego Garcia’s immigration status has not changed, and he remains

vulnerable to removal. Indeed, on the same day that Abrego Garcia returned to the United States,

Defendant Bondi announced that the Government intends to send him back to El Salvador all over

again. See Attorney General Bondi Announces Charges Against Abrego Garcia (June 6, 2025),

https://www.justice.gov/opa/video/attorney-general-bondi-announces-charges-against-abrego-

garcia (video at 0:53–1:00) (“Upon completion of sentence we anticipate he will be returned to his

home country of El Salvador.”); Exhibit B; ECF No. 203-4. And the Government has reiterated in

the Tennessee proceedings that Abrego Garcia faces removal “to El Salvador.” ECF No. 203-3 at

6. The continued threat of removal “has not evaporated or disappeared, and, by its continuing and

brooding presence, casts what may well be a substantial adverse effect on [Plaintiffs’] interests.”

Super Tire, 416 U.S. at 122. Plaintiffs’ request for declaratory relief is therefore not moot.

       The statement by a Government attorney at the June 26 hearing that it may remove Abrego

Garcia to a third country does not alter this conclusion, and in fact injects a new case or controversy

regarding the propriety of third country removal for Abrego Garcia. The Government has not

pointed to any documentation specifying which, if any, third country the Government plans to

remove Abrego Garcia to. Nor is there any evidence in the record that removal to any such third

country would be lawful, especially given the risk that it would immediately re-deport Abrego

Garcia onward to El Salvador. Cf. Guzman Chavez v. Hott, 940 F.3d 867, 879 (4th Cir. 2019) (“[I]f




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a noncitizen who has been granted withholding as to one country faces removal to an alternative

country, then she must be given notice and an opportunity to request withholding of removal to

that particular country.”), rev’d on other grounds sub nom. Johnson v. Guzman Chavez, 594 U.S.

523 (2021). Plaintiffs anticipate that their forthcoming supplemental complaint will seek relief in

connection with any attempt to remove Abrego Garcia to a third country, which is a further reason

the case is not moot. See Section V, below.

II.    The Court maintains jurisdiction under two exceptions to the mootness doctrine.

       Even if the Court finds that Plaintiffs’ claims are moot (it should not), their claims should

not be dismissed because two exceptions to mootness apply.

       First, the Government’s argument (at 6–7) that “[a]fter extensive diplomatic efforts, . . .

Defendants have complied with the Court’s order and have successfully facilitated Abrego Garcia’s

return to the United States” places its mootness challenge squarely within the “well-recognized

exception to the mootness doctrine holding that ‘a defendant’s voluntary cessation of a challenged

practice does not deprive a federal court of its power to determine the legality of the practice.’”

Porter v. Clarke, 852 F.3d 358, 363 (4th Cir. 2017) (quoting City of Mesquite v. Aladdin’s Castle,

Inc., 455 U.S. 283, 289 (1982)). When the Government loses at the preliminary injunction stage,

it cannot then moot the case through its own conduct “unless it is ‘absolutely clear that the

allegedly wrongful behavior could not reasonably be expected to recur.’” Lackey v. Stinne, 145 S.

Ct. 659, 669 (2025) (citations omitted).

       Making such a showing imposes a “formidable burden” on the Government. FBI v. Fikre,

601 U.S. 234, 241 (2024). For “governmental defendants no less than for private ones,” to “show

that a case is truly moot, a defendant must prove ‘no reasonable expectation’ remains that it will

‘return to [its] old ways.’” Id. (quoting United States v. W.T. Grant Co., 345 U.S. 629, 632–33

(1953)). A “defendant satisfies this heavy burden when, for example, it enters into an


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‘unconditional and irrevocable’ agreement that prohibits it from returning to the challenged

conduct” or “the governmental entity ‘has not asserted its right to enforce [the challenged conduct]

at any future time.’” Porter, 852 F.3d at 364. But a defendant’s mere say so that it has no present

plans to take the challenged action does not suffice. Wall v. Wade, 741 F.3d 492, 497 (4th Cir.

2014). A defendant’s “maneuvers designed to insulate a decision from review . . . must be viewed

with a critical eye.” Knox v. Serv. Emps. Int’l Union, Local 1000, 567 U.S. 298, 307 (2012).

Applying this standard in Fikre, the Supreme Court held that the government’s submission of a

declaration stating that it would not relist a plaintiff on the no-fly list based on “currently available

information” was not sufficient to demonstrate that the government “cannot reasonably be

expected to do again in the future what it is alleged to have done in the past.” 601 U.S. at 242.

        The Government cannot meet its “formidable burden” here. It has not “unconditional[ly]

and irrevocabl[y]” agreed not to again remove Abrego Garcia to El Salvador or taken the position

that it is powerless to do so. To the contrary, Defendant Bondi and other officials have announced

the Government’s intent to do exactly that. See page 12, above.

        The most the Government has done is make a single, unsubstantiated attorney assertion at

the June 26 hearing that it may remove Abrego Garcia to a third country rather than El Salvador.

The Court should “view” that claim “with a critical eye,” Knox, 567 U.S. at 307. Notably, unlike

in Fikre, where the government at least submitted a declaration stating it would not relist the

plaintiff on the no-fly list based on “currently available information” (which the Supreme Court

still found insufficient to moot the case), the Government here has not provided a sworn declaration

with any assurances concerning its future intentions. But even if the Government’s latest claim

were true, it is legally insufficient. “[B]ald assertions of a defendant—whether governmental or




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private—that it will not resume a challenged policy fail to satisfy any burden of showing that a

claim is moot.” Wall, 741 F.3d at 498 (emphasis added).

        In Wall, the district court ruled that the plaintiff’s claims for equitable relief challenging a

change in prison policy were moot after the prison “abandoned” the policy. 741 F.3d at 495–96.

The Fourth Circuit vacated that ruling because “[u]nsubstantiated assurances in their appellate

brief aside, [the defendants] failed to put forth even a single piece of evidence establishing that the

[policy] has been terminated once and for all.” Id. at 497. Although the defendants cited a

memorandum describing the “purported policy change,” the Fourth Circuit found it “fail[ed] to

establish [the prison] w[ould] not reinstate the policy following completion of the lawsuit.” Id.

“Nothing in the memo,” the Fourth Circuit reasoned, “suggest[ed] that [the prison was] actually

barred—or even consider[ed] itself barred—from reinstating the . . . policy should it so choose.”

Id. It ultimately had “no difficulty concluding that the defendants failed to meet their ‘heavy

burden’ of establishing that it [was] ‘absolutely clear’ the . . . policy w[ould] not be reinstated.” Id.

        The Government has done even less here. It offers no evidence that it even considers itself

barred from removing Abrego Garcia to El Salvador, or to a third country that might then remove

him there. “[V]iew[ed] . . . with a critical eye,” Knox, 567 U.S. at 307, and in light of the

Administration’s public statements—including from Defendant Bondi herself—the Court should

“have no difficulty concluding that the defendants failed to meet their ‘heavy burden’” to show

Plaintiffs’ claims are moot, Wall, 741 F.3d at 497; see also Porter, 852 F.3d at 364–65 (“courts

have been particularly unwilling to find that a defendant has met its heavy burden to establish that

its allegedly wrongful conduct will not recur when the defendant expressly states that,

notwithstanding its abandonment of a challenged policy, it could return to the contested policy in




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the future” or the defendant has “refuse[d] . . . to promise not to resume the prior practice . . . or to

otherwise unambiguously terminate the challenged practice.”) (cleaned up).

        Even if the Government could give a binding commitment that it will never remove Abrego

Garcia to El Salvador or to a third country that in turn will send him onward to El Salvador, there

will remain a live dispute as to whether removal of Abrego Garcia to a third country is lawful and

appropriate and what is the scope of his due process rights attendant to such removal proceedings.

To the extent that the issue concerning the Government’s recently-threatened third country

removal is not already within the ambit of the existing complaint, we anticipate that it will be

addressed expressly in the forthcoming amended and supplemental complaint.

        Second, dismissal is not warranted because the issues here are “capable of repetition, yet

evading review.” Lux v. Judd, 651 F.3d 396, 401 (4th Cir. 2011). “This exception applies when

‘(1) the challenged action is in its duration too short to be fully litigated prior to cessation or

expiration; and (2) there is a reasonable expectation that the same complaining party will be subject

to the same action again.’” Id. (citation omitted). Both requirements are easily met.

        As to the first factor, courts routinely hold that that lawsuits generally “do not last long

enough for complete judicial review of the controversies they engender.” Leonard v. Hammond,

804 F.2d 838, 843 (4th Cir. 1986) (quoting Super Tire, 416 U.S. at 126); see also Global Newspaper

Co. v. Superior Court for Norfolk Cnty., 457 U.S. 596, 602 (1982) (“because criminal trials are

typically of ‘short duration,’ . . . such an order will likely “evade review”); Nutt v. Ritter, 707 F.

Supp. 3d 517, 533 (E.D.N.C. 2023) (“The dispute is also reasonably capable of evading review.

Like criminal cases, civil cases can have exceedingly short durations.”). Indeed, according to the

Government’s theory, “the actual duration of the parties’ dispute—from the moment it became

viable to the moment” Abrego Garcia was returned—was 83 days, far less than other courts have




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found to be “too short.” Nutt 707 F. Supp. 3d at 533 (time “from the moment [the dispute] became

viable to the moment the state lawsuit’s dismissal was affirmed—was nineteen months”); Turner

v. Rogers, 564 U.S. 431, 440 (2011) (“Our precedent makes clear that the ‘challenged action,’

Turner’s imprisonment for up to 12 months, is ‘in its duration too short to be fully litigated’ through

the state courts (and arrive here) prior to its ‘expiration.’”) (citing First Nat. Bank of Boston v.

Bellotti, 435 U.S. 765, 774 (1978) (18-month period too short); Southern Pacific Terminal Co. v.

Interstate Commerce Commission, 219 U.S. 498, 514–16 (1911) (2-year period too short)); Cedar

Coal Co. v. United Mine Workers of Am., 560 F.2d 1153, 1165 (4th Cir. 1977) (“The challenged

action of each of the unions is its strike which ended prior to the time it was fully litigated.”).

        Moreover, for all the reasons explained above (at 13–16), although Abrego Garcia is now

back in the United States, he faces a substantial risk of again being removed to El Salvador, either

directly or via a third country. The Court need look only to the Government’s own statements to

“reasonably assume that Abrego Garcia “will someday be subjected to another [removal without

lawful process] . . . should the court no longer have jurisdiction to settle the dispute.” Nutt v. Ritter,

707 F. Supp. 3d 517, 533–34 (E.D.N.C. 2023); see also Cedar Coal, 560 F.2d at 1166 (allegations

and examples of “pattern and practice” of the challenged activity “sufficient to show that there was

a reasonable expectation that the same complaining parties . . . would be subjected to the same

action again”); Lux, 651 F.3d at 401 (plaintiff’s confirmation he was “considering” again running

for election and “inten[ded]” to take certain actions “support[ed] a reasonable expectation [he

would] be adversely affected” by election requirements). Because this dispute is capable of

repetition while evading review, it is not moot.

III.    The Court retains jurisdiction for sanctions and contempt.

        Even if the Government were correct that Abrego Garcia’s return to the United States

resolved every claim (it does not), this Court still retains jurisdiction to find contempt and impose


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sanctions for violations of its prior orders. See Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,

396 (1990) (“A court may make an adjudication of contempt and impose a contempt sanction even

after the action in which the contempt arose has been terminated.”); Fidrych v. Marriott, Int’l, Inc.,

952 F.3d 124, 145 (4th Cir 2020) (“Because sanction proceedings are collateral to the merits of the

underlying case, an otherwise proper sanction award may be imposed even if the court lacks

jurisdiction to enter a judgment on the merits.”); In re GMC, 61 F.3d 256, 259 n.3 (4th Cir. 1995)

(“contempt proceeding is not moot” even after case settles).

       Plaintiffs have moved for discovery sanctions for the Government’s repeated violations of

this Court’s discovery orders. See ECF No. 196. Under Cooter and Fidrych, this Court retains

jurisdiction to impose sanctions irrespective of whether the merits of the case have been resolved.

See also Heinrichs v. Marshall & Stevens, Inc., 921 F.2d 418, 421 (2d Cir. 1990) (applying Cooter

to hold that discovery sanctions under Federal Rule of Civil Procedure 37 remain available even

after merits of underlying case are resolved).

       The Court ordered expedited discovery for several reasons, including “to assist the Court

in determining whether contempt proceedings are warranted.” ECF No. 79 at 6. Once the

remaining discovery issues are resolved, Plaintiffs anticipate that they may seek contempt against

the Government for violations of this Court’s preliminary injunction—especially in light of the

recent whistleblower revelations against the Government. See Exhibit A (Reuveni Letter). Under

Cooter, Fidrych, and In re GMC, this Court retains jurisdiction to oversee any such contempt

proceedings irrespective of whether the underlying case becomes moot. See also United States v.

Mine Workers, 330 U.S. 258, 294 (1947) (“Violations of an order are punishable as criminal

contempt even though . . . the basic action has become moot.”).




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IV.    The Court should not dissolve its injunction.

       In the alternative, the Government asks (at 8) that this Court dissolve the preliminary

injunction under Federal Rule of Civil Procedure 60(b)(5). Yet the Government fails to meet its

burden of establishing “‘a significant change either in factual conditions or in law’ that makes

‘enforcement of the preliminary injunction detrimental to the public interest.’” Stone v. Trump, 400

F. Supp. 3d 317, 332 (D. Md. 2019) (cleaned up) (quoting L.J. v. Wilbon, 633 F.3d 297, 304–05

(4th Cir. 2011)); see also J.O.P. v. U.S. Dep’t of Homeland Sec., 2025 WL 1431263, at *3 (4th Cir.

May 19, 2025) (Benjamin, J., with Gregory, J., concurring).

       The Government’s motion contains no argument addressing how continued enforcement

of the injunction would be detrimental to the public interest. Instead, it merely asserts that Abrego

Garcia’s return makes enforcement “impossible” and would “waste judicial resources.” ECF No.

200. These conclusory statements are wrong: it is not impossible to enforce the injunction. See

Section I.B, above. And the mere fact that the Government has finally returned Abrego Garcia to

the United States does not, by itself, justify dissolving the injunction. Cf. SEC v. Tsao, 317 F.R.D.

31, 35 (D. Md. 2016) (collecting cases for the proposition that even “prolonged obedience to an

injunction, standing alone, is not enough to justify dissolution, although it may be a factor to be

considered”). Simply put, having failed to even argue that enforcement of the injunction would

harm the public interest, the Government’s motion should be denied.

       If the Court independently evaluates the public interest, it strongly favors maintaining the

injunction, which continues to require that the Government ensure that Abrego Garcia’s case “is

handled as it would have been had he not been improperly sent to El Salvador.” Noem, 145 S. Ct.

at 1018. Everything this Court concluded about the public interest in this case when it entered the

preliminary injunction remains true today. “[T]here is a public interest in preventing aliens from

being wrongfully removed, particularly to countries where they are likely to face substantial


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harm.” ECF No. 31 at 21 (quoting Nken v. Holder, 556 U.S. 418, 436 (2009)). And “the public

remains acutely interested in ‘seeing its governmental institutions follow the law . . . .’” Id.

(quoting Roe v. Dep’t of Def., 947 F.3d 207, 230–31 (4th Cir. 2020)). This substantial public interest

in maintaining the injunction makes it improper to dissolve it. See United States v. Welsh, 879 F.3d

530, 537 (4th Cir. 2018) (affirming district court’s denial of Rule 60(b)(6) motion where, “although

there was a change in circumstances, the public nonetheless had a substantial countervailing

interest in” keeping the court’s order in place).

       The Government’s comparison to Stone v. Trump is inapposite. In that case, a preliminary

injunction enjoined the enforcement of a 2017 memorandum banning transgender people from

serving in the military. The court dissolved that injunction only when the Government rescinded

the memorandum and issued a formal Implementation Plan that did not “suffer from the same

procedural defects” as the August 2017 Memorandum. 400 F. Supp. 3d at 332. Here, the

Government has not shown that all the enjoined conduct has been withdrawn or remedied. In

particular, the order to treat Abrego Garcia’s case as if he had not been unlawfully removed remains

in force, so the rationale of Stone v. Trump is inapplicable.

V.     Plaintiffs’ upcoming revised complaint will further confirm this case is not moot.

       For all the reasons above, the Government’s motion should be denied. In addition, Plaintiffs

will move by July 2 for leave to file an amended and supplemental complaint. Plaintiffs anticipate

that the amended complaint will clarify that the relief they seek includes restoring the status quo

ante, including requiring the Government to return Abrego Garcia to Maryland and handling his

case as it would have been had he not been unlawfully removed.

       The supplemental component of the pleading will address facts postdating the initial

complaint, including Abrego Garcia’s return to the United States and the Government’s statements

that it plans to deport him again. And it will address the additional relief Plaintiffs seek in


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connection with these new facts, including ensuring that Abrego Garcia receives all the process he

is due under U.S. law before he can be removed to El Salvador or any third country. These amended

and supplemental allegations will further establish that the case is not moot and that the

Government’s motion should be denied.

                                        CONCLUSION

       The Court should deny the Government’s motion to dismiss.




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Dated: June 30, 2025

                                               /s/ Jonathan G. Cooper
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